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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
JERMAINE DELESTON

                                        Plaintiff,

                    -against-

980 REST. INC., d/b/a PARIS BLUES, et al.,                                       18 Civ. 10226 (GBD)

                                         Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

GEORGE B. DANIELS, United States District Judge:

          The Court having been advised that the parties have reached a settlement in principle, the

Clerk of the Court is hereby ORDERED to close the above-captioned action, without prejudice to

restoring the action to this Court's calendar if an application to restore is made within thirty (30)

days of this Order.



Dated: New York, New York                                                  SO ORDERED.
       March 19, 2019
